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                                 EXHIBIT A
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                                                                               F          P.)
 1 Dawn M. Smith,Esq., SBN 222481                                     SL.IPERIOR 1.:0t)RT Or CAUFORNIA
                                                                                 Oi: SAN Br:
   SMITH CLINESMITH,LLP                                                  ;AN BERN;::P.DINO RNARDINO
                                                                                            DISTRICT
 2
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   Attorneys for Plaintiff
 6

 7                IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

 8                       IN AND FOR THE COUNTY OF SAN BERNADINO

 9                                                                 CIV SB 2 1 0 7 2 3 6
     MICHAEL LAWLER,Individually and as
                                      ) Case No.:
10   heir and Successor in Interest to BILL
                                      )
     LAWLER,Deceased,                 )             COMPLAINT
11                                    )
         Plaintiff,                   )
12                                    )    1. VIOLATIONS OF THE ELDER
                                      )        AND DEPENDENT ADULT CIVIL
     V.
13                                    )        PROTECTION ACT [Wel.& Instit.
                                      )        Code § 15600 et seq.]
14   CEDAR OPERATIONS,LLC d/b/a CEDAR )    2. NEGLIGENCE
     MOUNTAIN POST ACUTE,and DOES 1-50)    3. WRONGFUL DEATH
15                                    )
         Defendants.                    JURY TRIAL DEMANDED
16

17          COMES NOW Plaintiff, Michael Lawler, Individually and as Successor-In-Interest t
18   BILL LAWLER, by and through undersigned counsel, and files this Complaint and Demand fo
19
     Jury Trial against Defendants and states the following:
20
                                        NATURE OF THE CASE
21
        1. This case arises under the Elder and Dependent Adult Civil Protection Act(Welf. & Inst
22
            Code. Sec. 15600 et seq.) based upon Defendants' neglect and deliberate disregard for th
23
            health and safety of decedent BILL LAWLER, an 56-year-old aged and frail "dependen
24
            adult," while at all relevant times a resident at Defendant's skilled nursing facility, CEDA
25



                                                   -1-
                                               COMPLAINT
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          MOUNTAIN POST ACUTE ("CEDAR. MOUNTAIN") in Yucaipa, California
 1
         Defendants,and each ofthem,(1)were required to meet the basic needs ofMR.LAWLER
 2

 3       such as nutrition, hydration, hygiene, safety and medical care, including infection contro

 4       and prevention, and prevention ofserious injury,(2)knew ofthe conditions that made MR.

 5       LAWLER,a dependent adult, unable to provide for her own basic needs arising from hi

 6       lifetime diagnosis oftype two diatebets, hypertension, anemia,obesity, and end stage rena
 7       failure; and (3) denied and withheld the services and supervision necessary to meet MR
 8
         LAWLER'S basic needs with knowledge that MR. LAWLER's injuries set forth herei
 9
         were substantially certain and/or acted with conscious disregard ofthe high probability o
10
         such injuries.
11
      2. On March 4, 2020, Governor Newsom proclaimed a State of Emergency in California as
12
         result ofthe threat of COVID-19. Pursuant to the State ofEmergency Declaration CEDA
13
         MOUNTAIN was on notice of an infectious disease that could cause acute respirato
14

15       distress and had constructive notice of its obligations to create and implement an infectio

16       control policy pursuant to under Title 22, California Regulations Section 72321 and 72523

17       Despite awareness of its obligations arising under these regulations as far back as 2017

18       CEDAR MOUNTAIN failed to establish and implement the state mandated infectio

19       control policies, which led to an outbreak of the COVID-19 illness within the facility
20       Despite knowing that there was an ongoing outbreak, Defendants re-admitted Mr. Lawle
21
         to the facility without disclosing to any of Mr. Lawler's family that the facility was
22
         COVID-19 hotspot. As a result of Defendants' failure to disclose, MR. LAWLER (I
23
         contracted the novel coronavirus which caused MR. LAWLER substantial pain an II
24
         suffering and ultimately her rapid demise and untimely death on April 5, 2020.
25



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                                           COMPLAINT
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       3. At all relevant times Defendants' managing agents of the nursing facility, CED
 1
          MOUNTAIN CARE CENTER, including but not limited to Defendants' Director o
 2

 3        Nursing, Ellyse Pandjaitan and/or Administrator Tanner Peterson, gave authority and/o

 4        ratified the abuse and neglect and decision not to inform Mr. Lawler's family that ther

 5        had been a COVID-19 Outbreak within the facility. Defendant's managing agents kn

 6        CEDAR MOUNTAIN HEALTH CARE CENTER's employees/agents were ignorin
 7        policies and procedures necessary for the care and safety of MR. LAWLER, yet the
 8
          ignored the ongoing conduct resulting in the injuries and damages alleged herein.
 9
      4. Defendants' managing agents, including but not limited to the Director of Nursing an
10
          Administrator, were well aware ofthe state requirements to implement an infection contro
11
          policy well in advanced of the COVID-19 outbreak, yet ignored these legal requirement
12
          and took no reasonable corrective action to prevent future similar incidences. Defendants'
13
          managing agents thus knew their residents, including but not limited to MR. LAWLER
14

15        were substantially certain to be impacted by infections like COVID-19, yet failed to ensur

16       that their infection control policy was properly followed and acted with conscious disregar

17       ofthe high probability of infection like the one alleged herein.

18                                JURISDICTION AND VENUE
19    5. This cause of action is properly venued in SAN BERNADINO County inasmuch a
20       Defendants' facility, CEDAR MOUNTAIN CARE CENTER is located in S
21
         BERNADINO County,and a substantial part ofthe events, acts, omissions and transaction
22
         complained ofherein by CEDAR MOUNTAIN CARE CENTER and DOES 1-50 occurre
23
         in this County. CEDAR OPERATIONS, LLC, owns, operates, manages, or otherwis
24

25



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                                           COMPLAINT
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          exercise control ofCEDAR MOUNTAIN POST ACUTE,a skilled nursing facility locate
 1
          at 11970 4th Street, Yucaipa, CA 92399.
 2

 3    6. Defendants DOES 1 — 50 have sufficient minimum contacts with California, or otherwis

 4        purposefully availed themselves of benefits and protections of California, or do busines

 5       in California so as to render the exercise ofjurisdiction over them by the California court

 6       consistent with the traditional notions offair play and substantial justice.
 7    7. Plaintiff MICHAEL LAWLER,is the son and successor-in-interest of the decedent, BIL
 8
         LAWLER, and at all relevant times Plaintiff's injuries and damages to BILL LAWLE
 9
         occurred in SAN BERNADINO County as his father, decedent BILL LAWLER, was
10
         neglected dependent adult under Welfare & Institution Code Section 15600 et seq, and al
11
         tortious claims alleged herein in occurred in SAN BERNADINO County. MR. LAWLE
12
         is and was at all relevant times a resident of SAN BERNADINO County, California.
13
      8. The amount in controversy exceeds the jurisdictional minimum ofthis court.
14

15                                             THE PARTIES

16    9. At all relevant times, Plaintiff MICHAEL LAWLER and his aunt, Cathleen Lawler wer

17       actively involved in his father, BILL LAWLER's care and visited him frequently

18       MICHAEL LAWLER is lawfully entitled to pursue all claims and caused of actions fo

19       damages pursuant to Code of Civil Procedure sections 377.32, 377.60, 377.61, Welfar
20       and Institution Code section 15657.3(d), and Probate Code section 48.
21
      10. At all times mentioned, Decedent BILL LAWLER was 56 years of age and a "dependen
22
         adult" under Welfare and Institution Code section 15657.3(d) who had physical and men
23
         limitations that restricted her ability to carry out normal activities of daily living and sh
24
         could not protect his rights due to the physical and mental disabilities alleged herein.
25



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                                            COMPLAINT
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       11. Defendant CEDAR OPERATIONS, LLC, d/b/a CEDAR MOUNTAIN POST ACUTE
 1
          hereinafter "CEDAR MOUNTAIN" was at all relevant times herein a skilled nursin
 2

 3       facility which provided services at 11970 4th Street, Yucaipa, California 92399. Defend=

 4        may be served with process through its registered agent National Registered Agents, Inc.

 5        at 818 West Seventh Street, Suite 930, Los Angeles, California 90017.

 6     12. Plaintiff is informed and believes and thereon alleges that Defendant CEDA
 7        MOUNTAIN and DOES 1-50, inclusive are, and, at all times relevant to the acts an II
 8
         occurrences alleged herein were in the business of providing long-term care as a twenty
 9
         four-hour skilled nursing care facility as defined in §1250(c) of the Health & Safety Cod-
10
         and were subject to the requirements of Federal and State law. Plaintiff is informed an
11
         believe that CEDAR MOUNTAIN and DOES 1-50, inclusive are and were the owners
12
         managers and/or alter-egos of CEDAR MOUNTAIN and ratified the conduct of DOES 1
13
         50 and their respective agents and employees and are therefore vicariously liable for th
14

15       acts and omissions of these co-Defendants, their agents and employees, as is more full

16       herein alleged.

17    13. Plaintiff is ignorant of the true names and capacities of Defendants sued herein as DOE

18       1-50 inclusive, and therefore sue these Defendants by such fictitious names. Plaintiff i

19       ignorant of the true names and capacities of the nurses and /or medical staff on duty an
20       present during the occurrences herein alleged at CEDAR MOUNTAIN,and therefore su
21
         these nurses or medical staff by the fictitious names of Defendants DOES 1-50 inclusive
22
         Plaintiff is also ignorant of the true names and capacities of the various administrators
23
         officers, and directors ofCEDAR MOUNTAIN,sued herein as DOES 1-50,inclusive, an
24
         therefore sue them by such fictitious names. Plaintiff will seek leave ofthe Court to amen
25



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                                           COMPLAINT
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          this Complaint to identify said Defendants when their identities are ascertained. Plainti
 1
          is informed and believes and thereon alleges that DOES 1-50 were licensed or unlicense.1
 2

 3        health care providers, rendering health care as a skilled nursing facility, and in th

 4       respective capacities of owners, managers, administrators, nurses, physician director, o

 5       otherwise, agents or employees, to patients, including MR. LAWLER. Plaintiff i

 6       informed and believes and, on that basis, alleges that each of the fictitiously name al
 7       Defendants was in some form or fashion liable and legally responsible for the damages an
 8
         injuries set forth herein.
 9
      14. Under the provisions of Welfare & Institutions Code §15610.27, while a resident a
10
         CEDAR MOUNTAIN,Plaintiffs' Decedent BILL LAWLER was 56 years old and at al
11
         times mentioned a "dependent adult" as defined in Welfare & Institutions Code §15610.1
12
         and Defendants were "caretakers" in a trust relationship as defined in Welfare
13
         Institutions Code §15610.17.
14

15                                    FACTUAL BACKGROUND

16    15. Whenever in this Complaint it is alleged that a Defendant did any act or thing, it is mean

17       that the Defendants' officers, agents, servants, employees, or representatives did such ac

18       or thing and that at the time of such act or thing was done, it was done with the ful
19       authorization or ratification of the Defendants, with implied or apparent authority, or w
20       done in the normal routine course and scope of employment of Defendants' managin
21
         agents, officers, servants, employees, and/or representatives.
22
      16. The California Legislature has recognized the important role of civil litigation
23
         remedying abuse and neglect of elders and dependent adults. As stated in the Elder Abus
24
         and Dependent Adult Civil Protection Act("Elder Abuse Act"):
25



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                                           COMPLAINT
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                The Legislature recognizes that elders and dependent adults may be
 1              subjected to abuse, neglect, or abandonment and that this state has a
 2              responsibility to protect these persons...[and]
                The Legislature further finds and declares that infirm elderly
 3              persons and dependent adults are a disadvantaged class, that cases
                ofabuse ofthese persons are seldom prosecuted as criminal matters,
 4              and few civil cases are brought in connection with this abuse due to
                problems ofproof, court delays, and due to the lack ofincentives to
 5              prosecute these suits...[and]
                It is the further intent of the Legislature...to enable interested
 6              persons to engage attorneys to take up the cause of abused elderly
                persons and dependent adults. [Wel. & Inst. Code Sec. 15600]
 7
      17. During BILL LAWLER's residence at CEDAR MOUNTAIN,the Defendants knew tha
 8

 9       MR. LAWLER was in a compromised physical state. As a result, he required clos

10       supervision, close monitoring, and medical attention to ensure his health, safety and well

11       being. Defendant also knew by virtue of MR. LAWLER's physical state that he wa

12       dependent upon them for his activities of daily living including, but not limited to, feedin
13       and dietary planning, skin care, hygiene infection control/prevention, toileting, an
14
         physical rehabilitation/exercise.
15
      18. At all relevant times, MR. LAWLER, decedent, was 56-year-old male with a medica
16
         history of lifetime diagnosis of type two diabetes, hypertension, anemia, obesity, and en
17
         stage renal failure, which had the effect of limiting her mobility and made him dependen
18
         on CEDAR MOUNTAIN's staff for activities of Daily living. Each and all of thes
19
         comorbidities, of which the Defendants were aware at the time of admission, made MR
20
         LAWLER extremely susceptible to contracting airborne ailments.
21

22    19. On January 1, 2020 MR. LAWLER was admitted to CEDAR MOUNTAIN for physica

23       therapy and rehabilitation. He was discharged to the hospital for issues arising from hi

24       kidneys, and returned to CEDAR MOUNTAIN on March 18, 2020, for rehabilitatio

25



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                                             COMPLAINT
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          Upon admission MR.LAWLER was noted to be suffering from a lifetime diagnosis oftyp
 I
          two diabetes, hypertension, anemia, obesity, and end stage renal failure
 2

 3     20. As a nursing home, CEDAR MOUNTAIN and DOES 1-50, and each of them, wer

 4       charged with providing much needed care and rehabilitation services to dependent an al

 5        elderly adults in San Bernadino County. Like other skilled nursing facilities ("SNFs")

 6        CEDAR MOUNTAIN,was entrusted with highly vulnerable individuals,including but no
 7       limited to MR. LAWLER, who often had multiple physical impairments that require
 8
         extensive assistance in the basic activities of daily living such as ambulation, turning an
 9
         repositioning, and avoiding otherwise avoidable illnesses.
10
      21. Like the other residents at CEDAR MOUNTAIN,MR. LAWLER was entirely dependen
11
         on Defendants. CEDAR MOUNTAIN's most important duty was to protect its resident
12
         from health and safety hazards. Defendants failed to meet their responsibilities to provid
13
         for the health and safety of MR. LAWLER and as a direct and proximate cause o
14

15       Defendants' failure to meet those responsibilities MR. LAWLER contracted COVID-19

16       which caused extensive and unnecessary pain and suffering during the final days of his life

17    22. Specifically, the Defendants failed to implement effective infection control policie

18       throughout their facility, including:

19           a. Admitting a patient without the illness while an outbreak was on going;
20           b. Failing to inform family that there was a known outbreak before admitting him
21
                 thereby denying them the opportunity to seek other care;
22
             c. Failing to enforce social distancing among residents;
23
             d. Failing to cancel all group activities and communal dinning;
24
             e. Failing to timely restrict all visitors;
25



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                                             COMPLAINT
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               f. Failing to ensure appropriate staffing levels;

               g. Failing to adequately screen volunteers and non-essential healthcare personne
 2

 3                 prior to allowing heir entrance into the facility;

 4             h. Failing to actively screen everyone entering the building for fever and symptom

 5                 of COVID-19;

 6             i. Failing to monitor local, state and federal health guidance on the coronavirus fo
 7                 maintaining the safety of its residents
 8
           all of which enabled MR. LAWLER to contract COVID-19. The combination of thes
 9
           failures effectively caused catastrophic damage to MR.LAWLER,who passed away fro
10
           COVID-19 ailments on April 5, 2020.
11
       23. During his stay,and as a result ofthe COVID-19 outbreak at the facility, Mr. Lawler misse
12
           much needed dialysis treatment on April 3, 2020 as a result of the facility's staff fear o
13
           treating an infected patient.
14

15     24. California Regulations clearly demonstrate that at least as early as 2011,California Nursin

16         homes were required to create, implement, maintain, and train their staff as to prope

17        infection control techniques, an obligation which pertained to Defendant CEDA

18        MOUNTAIN inasmuch as they claim to operate their facility as a skilled nursing facility.
19    25. Despite this regulatory requirement, Defendant CEDAR MOUNTAIN failed to eithe
20        create, implement, maintain, or train their staff in the proper infection control mechanism
21
          necessary to avoid the transmission of disease.
22
      26. Defendants' chronic violation of staff-to-patient ratios, inadequate training of its staff i
23
          relation to infection control, and failure to provide for MR. LAWLER's safety and car
24
          after assessing him as suffering from decreased mobility as alleged herein amounted t
25



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                                              COMPLAINT
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           reckless neglect, as Defendants' conduct towards BILL LAWLER arose to the level of
 1
          conscious choice of a course of action with knowledge of the serious danger to MR
 2

 3        LAWLER.

 4     27. Despite their awareness ofthe risks to Plaintiffs decedent's health and well-being, the car

 5        custodian defendants and each of them repeatedly and flagrantly violated severa

 6        provisions of title 22 ofthe California Code of Regulations as follows:
 7            a. failed to frequently monitor decedent's condition in order to prevent inju
 8
                 [§72311(a)(1)(A)], which includes included monitoring her to prevent avoidabl
 9
                  falls and accidents, and failure to prevent an otherwise avoidable infection;
10
              b. failed to develop a care plan with measurable objectives to assure decedent receive
11
                  adequate care [§72311(a)(1)(B)];
12
              c. failed to implement a reasonable care plan;
13
              d. failed to notify decedent's treating physician of adverse changes in her conditio
14

15               [§72311(a)(3)(B)];

16            e. failed to properly organize, manage,operate, and/or control CEDAR MOUNTA

17               [§72501];

18            f violated decedent's right to be free from mental and/or physical abus

19               [§72527(a)(9)];
20            g. violated decedent's right to be treated with consideration, respect and ful
21
                  recognition of dignity and individuality, including privacy in treatment and in car
22
                  of personal needs [§72527(a)(11)];
23
              h. failed to document reasons for the denial or limitations of decedent's rights in he
24
                  health record;
25



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                                             COMPLAINT
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             a. failed to failed to properly implement and maintain a proper infection preventio
 1
                and control program designed to provide a safe, sanitary, and comfortabl
 2

 3              environment and to help prevent the development and transmission o

 4              communicable diseases and infections [§72321(b)].

 5           i. CEDAR MOUNTAIN failed to develop a comprehensive care plan for deceden

 6              which included measurable objectives and timetables to meet her medical, nursing
 7              mental and psycho social needs identified in the comprehensive assessment fo
 8
                decedent; more specifically, they failed to develop a realistic plan to assess hi
 9
                ongoing pain, given defendant's knowledge that decedent had limited cognitiv
10
                abilities [§72311(a)(2)];
11
            j. during decedent's stay, CEDAR MOUNTAIN failed to maintain an adequat
12
                number of qualified personnel to carry out the functions of the facility, especiall
13
                in light ofthe number of patients in its facility and the acuity of care necessary fo
14

15              the population of patients; CEDAR MOUNTAIN also failed to maintain the bar

16              minimum daily average of 3.0 nursing hours per patient per day [§§72329(a) an

17             (f), 72501(e)].

18          k. In addition, and also despite their awareness of the risks to decedent's health an

19              well-being, the care custodian defendants and each of them failed to employ
20              adequate number of qualified personnel at CEDAR MOUNTAIN throughout th
21
                course of decedent's residency, a repeated and flagrant violation of Health an
22
                Safety Code §1599.1(a);
23
            1. Failed to enforce social distancing among residents;
24
            m. Failed to cancel all group activities and communal dining;
25



                                               -11-
                                            COMPLAINT
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             n. Failed to timely restrict all visitors;
 1
             o. Failed to ensure appropriate staffing levels;
 2

 3           p. Failed to adequately screen volunteers and non-essential healthcare personnel prio

 4               to allowing heir entrance into the facility; and

 5           q. Failed to actively screen everyone entering the building for fever and symptoms o

 6               COVID-19;
 7           r. Failing to monitor local, state and federal health guidance on the coronavirus fo
 8
                 maintaining the safety of its residents;
 9
      28. In addition, and also despite their awareness of the risks to decedent's health and well
10
         being, the care custodian defendants and each of them repeatedly violated severa
11
         provisions of title 42 of the Federal Code of Regulations as follows:
12
             b. failed to review and revise said defendants' assessment of decedent's needs as he
13
                 condition changed [42 CFR §483.20(b)(5)];
14

15           c. failed to develop a comprehensive care plan for meeting decedent's needs[42 CF

16               §483.20(d)];

17           d. failed to provide decedent with the necessary care and services required to attain o

18               maintain the highest practicable physical, mental and psychosocial well-being [4

19              CFR §483.25], including ensuring her fluid intake and output levels to ensure tha
20              she was receiving necessary fluids for proper function of MR.LAWLER's urin
21
                tract;
22
             e. failed to provide proper nursing services, including but not limited to maintainin
23
                sufficient staffing levels to provide proper care [42 CFR §483.30];
24

25



                                               -12-
                                            COMPLAINT
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              f. failed to develop a comprehensive care plan for decedent which include
 1
                  measurable objectives and timetables to meet his medical, nursing, mental an
 2

 3                psycho social needs identified in the comprehensive assessment for decedent; mor

 4                specifically, they failed to develop a realistic plan to assess her needs give

 5               Defendants' knowledge that decedent had limited cognitive abilities [42 ,CF

 6               §§483.20(i) and (k)];
 7            g. failed to provide an environment to promote maintenance or enhancement o
 8
                 decedent's quality of life and violated decedent's right to be treated with digni
 9
                 and respect[42 CFR §483.15];
10
              h. failed to provide sufficient nursing staff to provide nursing and related services t
11
                 attain or maintain the highest practicable physical, mental and psycho social well
12
                 being of decedent and other residents [42 CFR §483.30]
13
             i. failed to properly implement and maintain a proper infection prevention and contro
14

15               program designed to provide a safe, sanitary, and comfortable environment and t

16               help prevent the development and transmission of communicable diseases an

17               infections [42 C.F.R. §483.80].

18    29. As a direct and legal result of the foregoing, decedent was injured and sustained persona

19       injury in a sum according to proof at trial.
20    30. As a further and direct result ofthe foregoing, Plaintiff required acute medical care and ha
21
         incurred medical expenses in a sum according to proof at trial.
22

23

24

25



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                                            COMPLAINT
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           COUNT I — ELDER ABUSE AND DEPENDENT ADULT CIVIL PROTECTION
 I                                      ACT
                             (AGAINST ALL DEFENDANTS)
 2

 3    31. Plaintiff incorporates by reference and re-alleges all of the allegations contained in th

 4       preceding paragraphs as though set forth fully herein.

 5    32. At all relevant times BILL LAWLER was a dependent adult as defined by Welfar

 6       Institutions Code section 15610.27. He was 56 years of age at the time of Defendants'
 7       misconduct and completely reliant on Defendants for all of her care needs in light of he
 8
         failing health, stroke, and immobility.
 9
      33. The actions described above constitute neglect as defined by Welfare and Institutions Cod
10
         section 15610.57. Defendants, and each of them, neglected MR. LAWLER, abandone
11
         their obligations and engaged in other mistreatment that resulted in physical harm, pal
12
         and mental suffering. Defendants as MR. LAWLER's care custodians, deprived MR
13
         LAWLER of services that were necessary to avoid physical harm and mental suffering
14

15       Defendants failed to provide adequate funding and staffing to ensure that Defendant

16       provided necessary care to MR.LAWLER. Defendant failed to:(1)exercise the degree o

17       care that a reasonable person in a like position would exercise;(2) protect MR.LAWLE

18       from health and safety hazards (3) provide necessary care and protection; (4) provid

19       medical care for physical and mental health needs;(6)create and update an adequate pl
20       ofcare to protect MR.LAWLER given the COVID-19 outbreak at CEDAR MOUNTAINS
21
        (7) provide adequate staffing levels to provide MR.LAWLER with the assistance that sh
22
         needed; and (8) adequately train staff to assess and respond to infections outbreaks. A
23
         described in this Complaint, Defendants' conduct constitutes neglect of an elder unde
24
         Welfare and Institutions Code section 15610.57(a)(1) and (b)(1)-(4).
25



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                                           COMPLAINT
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                                 ..,
      34. MR. LAWLER has been harmed by Defendants conduct as described herein. The patte
 1
          ofsubstandard care and neglect to MR.LAWLER put her at extremely high risk for furthe
 2

 3        injury and contracting COVID-19, and the resulting complications, including injury an il

 4        death. Defendants' conduct was a substantial factor in causing MR. LAWLER to suffe

 5        physical, emotional, and economic harm, as well as other damages in an amount to b

 6        determined according to proof.
 7    35. Defendants acted with recklessness, malice, oppression and/or fraud. Among other things
 8
          Defendants neglected to take the necessary precautions to prevent MR. LAWLER'
 9
          injuries. Defendants' failure to properly implement an infection control policy
10
          accordance with state guidance as alleged herein amounted to, at a minimum constitute
11
          reckless neglect, as Defendants' conduct towards BILL LAWLER rises to the level of
12
          conscious choice of a course of action with knowledge of the serious danger to MR
13
         LAWLER. Plaintiff,individually and as successor in interest to MR.LAWLER is entitle
14

15       to compensatory damages, as well as punitive damages in an amount to be determine

16       according to proof, as well as attorney's fees and costs pursuant to Welfare and Institution

17       Code Section 15657.

18                                  COUNT II— NEGLIGENCE
                                  (AGAINST ALL DEFENDANTS)
19
      36. Plaintiff incorporates by reference and re-alleges all of the allegations contained in th
20
         preceding paragraphs as though set forth fully herein.
21

22    37. Plaintiff was a resident of CEDAR MOUNTAIN and DOES 1-50 and under the care o

23       Defendants, and each ofthem,from on or January 1, 2020 through April 5,2020. By virtu

24       ofthe foregoing, Defendants and each ofthem owed a duty ofordinary care to the decedent

25



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                                                                          ,
          to use that degree of care and skill that a reasonably prudent person would use under th
 1
          same or similar circumstances, including but not limited to a duty to:
 2

 3           A. Ensure that each care worker receive adequate training before working with MR

 4               LAWLER;

 5           B. Monitor, record and report changes in MR.LAWLER'condition;

 6           C. Note and properly react to emergent conditions and provide timely medical care t
 7               MR. LAWLER or otherwise act appropriately when conditions indicate; and
 8
             D. Treat MR.LAWLER as an individual with respect, dignity, and without abuse;
 9
             E. Implement a state required infectious control policy.
10
      38. Defendants and each of them breached the aforesaid duty of care.
11
      39. Defendants' negligence, carelessness, recklessness, and unlawfulness was a substantia
12
         factor in causing MR. LAWLER to suffer tremendous physical, emotional, economic an
13
         fatal harm as well as other damages to be proven at the time oftrial.
14

15    40. As a direct and proximate cause of Defendants' tortious misconduct decedent suffere

16        personal injuries and economic damages in a sum to be proven at the time of trial. MR

17       LAWLER suffered tremendous physical, emotional, and economic harm as well as othe

18       damages in an amount to be determined according to proof.
19                             COUNT 111—WRONGFUL DEATH
20                              (AGAINST ALL DEFENDANTS)
21
      41. Plaintiffs incorporate by reference and reallege all of the allegations contained in th
22
         preceding paragraphs of this Complaint as though fully set forth herein.
23
      42. Defendants and DOES 1-50, and each of then, negligently, carelessly, recklessly and/o
24
         unlawfully operated CEDAR MOUNTAIN so as to cause the death of BILL LAWLER.
25



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      43. Defendants CEDAR MOUNTAIN and DOES 1-50 were agents, servants, employees
 1
          successors in interest, and/or joint venturers of one another, and were, as such, actin
 2

 3        within the course, scope, and authority of said agency, employment, and/or venture whe

 4        they negligently, carelessly, recklessly, and unlawfully withheld necessary care from BIL

 5        LAWLER so as to cause BILL LAWLER'S death.

 6    44. As a direct and legal result of the wrongful acts and omissions of the Defendants, BIL
 7        LAWLER died.
 8
      45. By reason of the wrongful death of BILL LAWLER resulting from the wrongful acts an
 9
          omissions of the Defendants, and DOES 1-50, Plaintiffs have incurred funeral and buria
10
          expenses, and related medical expenses, in an amount to be determined at trial.
11
      46. By reason of the wrongful death of BILL LAWLER,resulting from the wrongful acts an
12
          omissions ofDefendants and DOES 1-50 and each ofthem,Plaintiff suffered and continu
13
          to suffer loss of love, companionship, comfort, affection, solace, and the moral an.1
14

15        economic support of his father.

16    47. As a direct a legal result of the aforementioned acts of Defendants CEDAR MOUNTAIN

17        and DOES 1-50, inclusive, Plaintiffs, by reason ofthe wrongful death of BILL LAWLER

18       resulting from the wrongful acts and/or omissions of Defendants, hereby seek recovery o
19        other such relief as may be just and provided for under Code of Civ. Proc. § 377.61.
20    48. Plaintiffs are informed and believe, and thereon allege,that in the days leading up to BIL
21
         LAWLER's death and continuing through her death, Defendants CEDAR MOUNTA
22
         and DOES 1 through 50, and each of them, at all times mentioned, were under a statuto
23
         duty to comply with all applicable federal and state laws and regulations governing nursin
24
         homes in California, including but not limited to the following:
25



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               • 42 C.F.R. § 483.10(a)&(e)(respect, dignity,& without abuse);
 1

 2             • 42 C.F.R. § 483.21 (care plan);

 3             • 42 C.F.R. § 483.25 (quality care must be provided, protecting for health and safe

 4                  hazards);

 5             • 42 C.F.R. § 483.30(adequate physician oversight);
 6
               • Cal. Health & Safety Code § 1279.6 (safety plan);
 7
               • Cal. Health & Safety Code § 1337.1 (adequate training);
 8
               • Cal. Health & Safety Code § 1559.1(a)(adequate and qualified staff);
 9
               • 22 CCR § 72311 (Care plan and prompt reporting)
10
               • 22 CCR § 72315 (required services);
11

12             • 22 CCR § 72329(a)& 72501(e)(adequate staffing);

13             • 22 CCR § 72517(adequate training);

14             • 22 CCR § 72523 (adequate policies and procedures);
15             • 22 CCR § 72527(a)(11)(respect, dignity,& without abuse);
16
               • 22 CCR § 72537(reporting ofcommunicable diseases);
17
               • 22 CCR § 72539(reporting of outbreaks);
18
               • 22 CCR § 72541 (reporting of unusual occurrences);
19
               • 42 U.S.C. § 1396r(b)(2)(adequate plan of care);
20

21   Defendants' violations of these laws and regulations were a contributing factor to the death o

22   BILL LAWLER.

23      49. BILL LAWLER was one ofthe class ofpersons whose protection the aforementioned law

24          and regulations, as well as Welfare and Institutions Code §§15600 et seq., was afforded.
25



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      50. As a direct and legal result of the wrongful acts and omissions of Defendants, includin
 1
          DOES 1-50, BILL LAWLER died.
 2

 3    51. By reason ofthe wrongful death of BILL LAWLER resulting from the wrongful acts an

 4        omissions of Defendants, and DOES 1-50, Plaintiffs have incurred funeral and buria

 5        expenses, and related medical expenses, in an amount to be determined at trial.

 6    52. By reason of the wrongful death of BILL LAWLER,resulting from the wrongful acts an
 7        omissions of Defendants
 8
                       ENHANCED REMEDIES - WILFULL MISCONDUCT
 9                           (AGAINST ALL DEFENDANTS)

10    53. Plaintiff incorporates by reference and re-alleges all of the allegations contained in the

11        preceding paragraphs as though set forth fully herein.

12    54. Because MR. LAWLER was a resident of CEDAR MOUNTAIN, defendants CEDA
13       MOUNTAIN and DOES 1 to 50, inclusive, had a duty under federal and state law an
14       regulations designed and implemented for the protection and benefit of skilled nursin
15
         resident including MR.LAWLER to provide their patients with care, comfort and safety.
16
      55. Defendants CEDAR MOUNTAIN and DOES 1 to 50, inclusive owed a duty to MR
17
         LAWLER to provide her with 24-hour nursing care and physician services necessary t
18
         attain and maintain Plaintiffs highest practicable level of physical, mental and psych
19
         social well-being.
20

21    56. In addition, and without limiting the generality of the foregoing, defendants CEDA

22       MOUNTAIN and DOES 1 to 50 provide skilled nursing care and physician services

23       accordance with the prevailing Standard of Practice in the Skilled Nursing Facilities an

24       State and Federal laws and regulations;

25



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          a. establish and implement a patient-care plan for plaintiff based upon and includin
 I
            without limitation an ongoing process ofidentifying care needs;
 2

 3        b. maintain nursing and other staffing at levels adequate to meet the needs of decedent;

 4        c. follow proper nursing and physician care standards to maximize the health, safety an

 5           well-being of decedent;

 6       d. note and properly react to emergency conditions and to timely transfer decedent to
 7          acute care facility or otherwise act when conditions so indicated;
 8
         e. maintain accurate records of decedent's condition, treatment and activity;
 9
        f. employ nursing staff with the qualifications to provide the necessary nursing service
10
            for plaintiff;
11
        g. implement the facility policy and procedures consistently;
12
        h. keep all current clinical information centralized in decedent's health record;
13
        i. provide appropriate records for physicians and ancillary orders;
14

15    57. Defendants CEDAR MOUNTAIN and DOES 1 to 50,inclusive and each ofthem, willfull

16        and/or recklessly ignored or otherwise violated the state and federal laws and regulation

17        designed to protect patients of skilled nursing facilities, including MR. LAWLER; sai 41

18        laws include, without limitation, those statutes and regulations set forth herein.
19    58. These acts were intentional and in reckless disregard for the probability that severe inj
20       or death would result from defendants' failure to carefully adhere to their duties
21
         Defendant's managing agents including but not limited to the Director of Nursing and/o
22
         administrator knew of staff failures and ratified that conduct by failing to take an
23
         reasonable action to implement proper protocols to protect against severe injury and death.
24

25



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       59. Defendants CEDAR MOUNTAIN and DOES 1 to 50, inclusive and each of them, lcne
 1
           or should have known in the exercise of reasonable diligence, that there was a probabili
 2

 3        that injury or death to MR. LAWLER would result from their failure to perform thei

 4        duties.

 5     60. At all times herein mentioned, defendants CEDAR MOUNTAIN, and DOES 1 to 50

 6        inclusive,and each ofthem,knew ofthe existence ofthe regulations and laws that protecte el
 7        elders and dependent adults and knew that the lives and health ofresidents such as deceden
 8
           were at risk whenever defendants failed to meet such duties.
 9
       61. Defendants CEDAR MOUNTAIN and DOES 1 to 50, inclusive, and each of them, kne
10
          their routine, pattern and repeated failure to comply with such duties would probably resul
11
          in injuries to residents, including MR. LAWLER and in fact, did result in injury to MR
12
          LAWLER.
13
       62. In breaching their duties to Decedent BILL LAWLER,defendants acted intentionally an al
14

15        in conscious disregard of the health and safety of their residents, including plaintiff, al

16        according to the plan of maintaining inadequate resident care, thereby unlawfiill

17        increasing the profitability of CEDAR MOUNTAIN and DOES 1-50'S busines

18        operations.

19    63. That is defendants, under the control of and management of CEDAR MOUNTAIN an
20        DOES 1-50, determined that they would ignore common and basic legally require O.
21
          minimum care to the elders and dependent under their care and custody for the sole purpos
22
          ofincreasing profits irrespective ofthe mayhem and death defendant's conduct was reapin
23
          upon the elders, including MR.LAWLER.
24

25



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       64. In doing the acts alleged herein, defendants CEDAR MOUNTAIN and DOES 1 to 50
 1
          inclusive, and each of them, breached certain duties which would require them to devot
 2

 3        resources to the care and treatment ofpatients like MR.LAWLER and to maintain adequat

 4        staffing levels, not to divert those resources solely to the attainment of profit goals.

 5     65. The conduct of defendants, as alleged, constitutes neglect as defined in Welfare

 6        Institutions Code §15610.57 in that said defendants failed to exercise the degree of car
 7        that a reasonable person having the care and custody of BILL LAWLER would exercise.
 8
          The "neglect" as defined in Welfare & Institutions Code, §15610.57 constitutes abuse of
 9
          dependent adult as contemplated by the Elder Adult Dependent Adult Civil Protection Ac
10
         [EADACPA]and Delaney v. Baker(1999)20 Ca1.4th 23.
11

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                                     PRAYER FOR RELIEF
 1
           WHEREFORE,Plaintiff prays for judgment and damages against Defendant as follows:
 2

 3            a. General and special compensatory damages according to proof;

 4            b. Punitive damages according to proof, including but not limited to treble punitiv

 5               damages per Civil Code section 3345;

 6            c. For prejudgment and post-judgment interest upon such judgment at the maxim
 7               rate provided by law;
 8
              d. Reasonable costs of suit;
 9
              e. Attorney's fees per Welfare and Institutions Code section 15657; and
10
             f. Such other or further relief as the Court may deem proper.
11
     RESPECTFULLY SUBMITTED February 24, 2021.
12

13                                                           /s/ Dawn M. Smith
                                                             Dawn M. Smith, Esq.
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